Case 1:22-cv-00004-FB-RER Document 1-3 Filed 01/03/22 Page 1 of 8 PageID #: 18




                            EXHIBIT C
FILED: QUEENS COUNTY CLERK 09/09/2021 03:06 PM                                                        INDEX NO. 720283/2021
          Case
NYSCEF DOC. NO.1:22-cv-00004-FB-RER
                1                   Document 1-3 Filed 01/03/22 Page RECEIVED
                                                                     2 of 8 PageID #: 1909/09/2021
                                                                               NYSCEF:




                  SUPREME COURT OF THE STATE OF NEW YORK                                    Index No.:
                  COUNTY OF QUEENS                                                          Date Purchased:
                  ----------------------------------------------------------------------X
                  REGINA CANELA,                                                            SUMMONS

                                            Plaintiff,                                      Plaintiff designates Queens
                                                                                            County as the place of trial.
                                   - against -
                                                                                            The basis of venue is:
                  JETBLUE AIRWAYS CORPORATION,                                              Defendant’s principal place of
                                                                                            business
                                            Defendant.

                  ----------------------------------------------------------------------X   County of QUEENS

               To the above named Defendant:

                        You are hereby summoned to answer the complaint in this action, and to serve a copy of
               your answer, or, if the complaint is not served with this summons, to serve a notice of appearance
               on the plaintiff's attorneys within twenty days after the service of this summons, exclusive of the
               day of service, where service is made by delivery upon you personally within the state, or, within
               30 days after completion of service where service is made in any other manner. In case of your
               failure to appear or answer, judgment will be taken against you by default for the relief demanded
               in the complaint.

               Dated: Garden City, New York
                      September 9, 2021

                                                                    __________________________________
                                                                    JOSEPH G. DELL
                                                                    DELL & DEAN, PLLC
                                                                    Attorneys for Plaintiff
                                                                    REGINA CANELA
                                                                    1225 Franklin Avenue, Suite 450
                                                                    Garden City, New York 11530
                                                                    (516) 880-9700
                                                                    File No. 4091

               TO:     JETBLUE AIRWAYS CORPORATION – Via Secretary of State
                       James G. Hnat
                       27-01 Queens Plaza North
                       Long Island City, New York 11101




                                                           1 of 7
FILED: QUEENS COUNTY CLERK 09/09/2021 03:06 PM                                                       INDEX NO. 720283/2021
          Case
NYSCEF DOC. NO.1:22-cv-00004-FB-RER
                1                   Document 1-3 Filed 01/03/22 Page RECEIVED
                                                                     3 of 8 PageID #: 2009/09/2021
                                                                               NYSCEF:




                 SUPREME COURT OF THE STATE OF NEW YORK
                 COUNTY OF QUEENS                                                          Index No.:
                 ----------------------------------------------------------------------X   Date Purchased:
                 REGINA CANELA,
                                                                                           VERIFIED COMPLAINT
                                           Plaintiff,

                                  - against -

                 JETBLUE AIRWAYS CORPORATION,

                                           Defendant.

                 ----------------------------------------------------------------------X


                        Plaintiff, by her attorneys DELL & DEAN, PLLC, complaining of the Defendant,

               respectfully allege, upon information and belief, as follows:


                                            AS AND FOR A FIRST CAUSE OF ACTION
                                               ON BEHALF OF REGINA CANELA


                        1.       That at all times herein mentioned, Plaintiff was, and still is, a resident of the

               County of Nassau, State of New York.

                        2.       That at all times herein mentioned, the Defendant JETBLUE AIRWAYS

               CORPORATION was and still is a domestic corporation, a foreign corporation or other legal

               entity duly organized and existing under and by virtue of the laws of the State of New York.

                        3.       That at all times herein mentioned, the Defendant JETBLUE AIRWAYS

               CORPORATION maintained a principal place of business in the County of Queens, State of

               New York.




                                                                        2




                                                           2 of 7
FILED: QUEENS COUNTY CLERK 09/09/2021 03:06 PM                                                  INDEX NO. 720283/2021
          Case
NYSCEF DOC. NO.1:22-cv-00004-FB-RER
                1                   Document 1-3 Filed 01/03/22 Page RECEIVED
                                                                     4 of 8 PageID #: 2109/09/2021
                                                                               NYSCEF:




                       4.      That on February 13, 2020, and at all times herein mentioned, a certain aircraft,

               specifically Flight B6 1536, including the on ramp to the aircraft, was owned by Defendant

               JETBLUE AIRWAYS CORPORATION.

                       5.      That at all times herein mentioned, the Defendant JETBLUE AIRWAYS

               CORPORATION, through their agents, servants, employees, and/or assigns, owned, operated,

               managed, maintained, possessed, supervised, repaired, constructed, altered and controlled a

               certain aircraft, specifically Flight B6 1536, including the on ramp to the aircraft.

                       6.      That on February 13, 2020, and at all times herein mentioned, the

                above-mentioned aircraft, including the on ramp to the aircraft, was owned, operated, managed,

                maintained, possessed, supervised, repaired, constructed, altered and controlled by Defendant

                JETBLUE AIRWAYS CORPORATION.

                       7.      That on February 13, 2020, and at all times herein mentioned, it was the duty of

                Defendant JETBLUE AIRWAYS CORPORATION to own, operate, manage, maintain, repair,

                control, inspect, construct and supervise the aircraft, including the on ramp to the aircraft, in a

                reasonably safe condition.

                       8.      That at all times herein mentioned, Defendant JETBLUE AIRWAYS

                CORPORATION had a non-delegable duty to maintain the aircraft in a reasonably safe

                condition and free of dangers and hazards to those passengers lawfully thereat, including Plaintiff

                REGINA CANELA.

                       9.      That on February 13, 2020, Plaintiff REGINA CANELA was a lawful passenger

                aboard the above-mentioned aircraft.




                                                                  3




                                                       3 of 7
FILED: QUEENS COUNTY CLERK 09/09/2021 03:06 PM                                                INDEX NO. 720283/2021
          Case
NYSCEF DOC. NO.1:22-cv-00004-FB-RER
                1                   Document 1-3 Filed 01/03/22 Page RECEIVED
                                                                     5 of 8 PageID #: 2209/09/2021
                                                                               NYSCEF:




                      10.     That on February 13, 2020, while Plaintiff REGINA CANELA while lawfully

               boarding the aforesaid aircraft, she was caused to sustain severe and permanent injuries.

                      11.     The above mentioned occurrence, and the results thereof, was caused wholly and

               solely by the negligence and breach of duty of the Defendant JETBLUE AIRWAYS

               CORPORATION and/or said Defendant’s servants, agents, employees and/or licensees in the

               ownership, inspection, construction, repair, operation, management, maintenance and control of

               the aforesaid aircraft, fixtures and appurtenances, including the on ramp to the aircraft; and the

               Defendant JETBLUE AIRWAYS CORPORATION was otherwise negligent, careless and

               reckless.

                      12.     That, upon information and belief, Defendant JETBLUE AIRWAYS

               CORPORATION had actual notice of this defective condition in that this Defendant created the

               condition and was present on a daily basis prior to the underlying accident.

                      13.     That no negligence on the part of the Plaintiff REGINA CANELA contributed to

               the occurrence alleged herein in any manner whatsoever.

                      14.     That as a result of the foregoing, Plaintiff REGINA CANELA was caused to

               sustain serious injuries and to have suffered pain, shock, mental anguish; that these injuries and

               their effects will be permanent; and as a result of said injuries, Plaintiff REGINA CANELA has

               been caused to incur, and will continue to incur, expenses for medical care and attention; and, as a

               further result, Plaintiff REGINA CANELA was, and will continue to be, rendered unable to

               perform Plaintiff's normal activities and duties and has sustained a resultant loss therefrom.




                                                                4




                                                     4 of 7
FILED: QUEENS COUNTY CLERK 09/09/2021 03:06 PM                                            INDEX NO. 720283/2021
          Case
NYSCEF DOC. NO.1:22-cv-00004-FB-RER
                1                   Document 1-3 Filed 01/03/22 Page RECEIVED
                                                                     6 of 8 PageID #: 2309/09/2021
                                                                               NYSCEF:




                        15.      By reason of the foregoing, Plaintiff REGINA CANELA has been damaged in an

               amount which exceeds the jurisdictional limits of all lower courts which would otherwise have

               jurisdiction herein.

                   WHEREFORE, Plaintiff REGINA CANELA prays for judgment against the Defendant

               JETBLUE AIRWAYS CORPORATION on behalf of the within Causes of Action in amounts

               which exceed the jurisdictional limits of all lower courts which would otherwise have jurisdiction

               herein, together with the costs and disbursements of this action.

               Dated:         Garden City, New York
                              September 9, 2021

                                                             Yours, etc.

                                                             _______________________________
                                                             JOSEPH G. DELL
                                                             DELL & DEAN, PLLC
                                                             Attorneys for Plaintiff
                                                             REGINA CANELA
                                                             1225 Franklin Avenue, Suite 450
                                                             Garden City, New York 11530
                                                             (516) 880-9700




                                                                5




                                                      5 of 7
FILED: QUEENS COUNTY CLERK 09/09/2021 03:06 PM                              INDEX NO. 720283/2021
          Case
NYSCEF DOC. NO.1:22-cv-00004-FB-RER
                1                   Document 1-3 Filed 01/03/22 Page RECEIVED
                                                                     7 of 8 PageID #: 2409/09/2021
                                                                               NYSCEF:




                                             6 of 7
FILED: QUEENS COUNTY CLERK 09/09/2021 03:06 PM                                                                                        INDEX NO. 720283/2021
          Case
NYSCEF DOC. NO.1:22-cv-00004-FB-RER
                1                   Document 1-3 Filed 01/03/22 Page RECEIVED
                                                                     8 of 8 PageID #: 2509/09/2021
                                                                               NYSCEF:




             QIndex No:
             SUPREME COURT OF THE STATE OF NEW YORK
             COUNTY OF QUEENS

             REGINA CANELA,

                                                     Plaintiff,

                                        -against-

             JETBLUE AIRWAYS CORPORATION,

                                                  Defendant.


                                            SUMMONS AND VERIFIED COMPLAINT


                                                               DELL & DEAN, PLLC
                                                                Attorneys for Plaintiff
                                                           1225 Franklin Avenue, Suite 450
                                                            Garden City, New York 11530
                                                                   (516) 880-9700

             Pursuant to 22 NYCRR 130-1.1-a, the undersigned, an attorney admitted to practice in the courts of New York State, certifies that,
             upon information and belief and reasonable inquir
             y, (1) the contentions contained in the annexed document are not frivolous and that (2) if the annexed document is an initiating
             pleading, (i) the matter was not obtained through illegal conduct, or that if it was, the attorney or other persons responsible for the
             illegal conduct are not participating in the matter or sharing in any fee earned therefrom and that (ii) if the matter involves potential
             claims for personal injury or wrongful death, the matter was not obtained in violation of 22 NYCRR 1200.41-A.

             Dated: September 9, 2021
                                                                                     Signature…………………………………………
                                                                           Print :              Joseph G. Dell




            PLEASE TAKE NOTICE
                  _____     That the within is a (certified) true copy of an
            NOTICE OF       Entered in the office of the clerk of the within-named Court on
            Entry
                            That an Order of which is a true copy will be presented for settlement to the
            NOTICE OF       Hon.                                                        , one of the judges of the
            within-named Court,
            SETTLEMENT at
                            on                                                            20             , at
            M.
            Dated:

                                                               DELL & DEAN, PLLC
                                                                Attorneys for Plaintiff
                                                           1225 Franklin Avenue, Suite 450
                                                            Garden City, New York 11530
                                                                   (516) 880-9700




                                                                           7 of 7
